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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WISCONSIN

SCARLETT PAVLOVICH,
                  Plaintiff                    Case No.: 3:25-CV-00078-JDP

v.

NEIL GAIMAN
                             Defendant

                                               JOINT REPORT


        The parties, through their respective counsel, respectfully submit the

following Joint Report.

     The date of the Fed. R. Civ. P. 26(f) conference was May 12, 2025.

     1. Statement of the nature of the case:

        Plaintiff: Ms. Pavlovich claims that Defendant Gaiman sexually assaulted her

numerous times after she had befriended Defendant Gaiman’s wife, Amanda Palmer,

in New Zealand when she was 22 years old, poor, without secure housing or a stable

means of income, and in fragile mental health. Ms. Pavlovich claims that Ms. Palmer

and Defendant Gaiman were aware of her vulnerabilities and took advantage of those

vulnerabilities and her financial situation and preyed upon her for Defendant

Gaiman’s own sexual gratification.

        Ms. Pavlovich claims that Ms. Palmer would have her do unpaid personal

favors such as running errands, babysitting, or helping Ms. Palmer around the house.
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On February 1, 2022, Ms. Palmer asked Ms. Pavlovich to babysit for both her and

Defendant Gaiman for the weekend, watching their mutual child at their separate

homes, but Ms. Palmer promised that this time, she would be paid for her work.

      Ms. Pavlovich arrived at Defendant Gaiman’s house on the afternoon of

February 4, 2022, spent an hour playing with Defendant Gaiman’s child before

Defendant Gaiman dropped his child off at a friend’s house, and then once Defendant

Gaiman was alone with Ms. Pavlovich, he sexually assaulted her.

      Ms. Pavlovich claims that between February 4, 2022, and February 25, 2022,

Defendant Gaiman sexually abused her numerous times and during this time, she

was not paid for her work as a nanny or for other household services she provided

despite being hired by Defendant Gaiman and Ms. Palmer to provide those services.

      Ms. Pavlovich claims Defendant Gaiman’s sexual abuse has caused her

economic and non-economic damages, including but not limited to past and future

medical expenses, past and future loss of wages, loss of earning capacity, mental

suffering, emotional trauma, pain, anxiety, depression, distress, loss of enjoyment of

life, PTSD, and betrayal trauma. Ms. Pavlovich claims damages for her economic

and non-economic losses.

          a. Defendant: Plaintiff’s claims are a sham. This is a strike suit designed

to publicly tarnish Gaiman’s reputation as an author and creator to force a non-

deserved settlement. All the allegations asserted in Plaintiff’s lawsuit arise from


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purported conduct that occurred in New Zealand, where plaintiff is a citizen and

Gaiman has permanent resident status. Plaintiff and Gaiman began a brief, personal

relationship there in early 2022. Gaiman never assaulted Plaintiff. Indeed,

Plaintiff’s contemporaneous correspondence with Gaiman and others demonstrates

that all conduct was consensual and “wonderful.” Plaintiff’s claims are entirely

fabricated, but in any event should be adjudicated in New Zealand, if anywhere.

   2. Related cases: Pavlovich v. Palmer, 1:25-CV-10263-NMG (United States

      District Court District of Massachusetts); Pavlovich v. Palmer, 25-cv-969

      (United States District Court Southern District of New York)

   3. Statement of material factual and legal issues to be resolved at trial:

         a. Plaintiff: The issues to be resolved at trial are whether Defendant

             Gaiman violated 18 U.S.C. §§1591, 1595(a); 18 U.S.C. § 1589; 18

             U.S.C. § 1590(a), 1595(a); and 18 U.S.C. § 1594, 1595(a). Whether

             Defendant Gaiman is liable for the torts of Assault, Battery, Intentional

             Infliction of Emotional Distress, and Negligent Infliction of Emotional

             Distress. Whether Plaintiff Pavlovich has suffered damages caused by

             Defendant Gaiman’s conduct, and if so, the amount of said damages.

         b. Defendant: The threshold issue is whether this Court is the proper

             forum to adjudicate Plaintiff’s claims, which all arise based on alleged




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         conduct that occurred in New Zealand. New Zealand is the proper

         forum for this suit.

4. Amendments to the pleadings:

      a. Plaintiff: None at this time.

      b. Defendant: None at this time.

5. Identity of any new parties:

      a. Plaintiff: None at this time.

      b. Defendant: None at this time.

6. Proposed Case Schedule:

      a. Motions to amend the pleadings and add parties: July 28, 2025.

      b. Expert disclosures:

             i. Plaintiff: January 26, 2026

            ii. Defendant: February 23, 2026

           iii. Rebuttal: March 16, 2026

      c. Dispositive motions: February 2, 2026 (five months before trial)

      d. Close of discovery: May 22, 2026 (six weeks before trial)

      e. Trial (estimated): July 1, 2026

      f. Length of trial: 14 days




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7. Discovery plan, pursuant to Fed. R. Civ. P. 26(f)(3):

      a. General Plan

             i. Initial disclosures: The parties will provide Initial Disclosures

                by June 11, 2025.

            ii. Topics for discovery: Discovery will be needed regarding the

                parties’    and     witnesses’      communications,        including

                communications between Defendant Gaiman, Ms. Palmer,

                Plaintiff Pavlovich, and any other witnesses related to the events

                surrounding the claims, including but not limited to texts and

                emails between the parties and witnesses.

           iii. Discovery issues: In consideration of judicial efficiency, Plaintiff

                requests an Order allowing discovery used in this case and in the

                companion case in the District of Massachusetts to be reciprocal

                and used in both cases. Gaiman opposes this request. He is not

                a party to the District of Massachusetts lawsuit.

            iv. Privilege issues: Plaintiff anticipates there may be a privilege

                issue with regards to her therapeutic medical treatment and

                records, and it is anticipated she will need a Protective Order in

                place. Gaiman opposes this request. Plaintiff put her mental

                health treatment at issue by filing this lawsuit in Wisconsin


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             federal court. The records will be disclosed during the trial. A

             protective order unnecessarily burdens counsel’s ability to use

             and analyze records, including sharing those records with experts

             retained by the Defendant.

          v. Limitations on discovery: Plaintiff believes that a limit of 25

             Request for Production of Documents, 25 Interrogatories, and 20

             Requests for Admissions is proportional to the needs of the case.

             Gaiman opposes this request. There should be no limitations

             placed on written discovery.

         vi. Changes to discovery: At this time, the parties do not see a need

             for a change to discovery

         vii. Other orders: None at this time.

    b. ESI

          i. Description of the parties’ repositories of discoverable ESI:

                1. Plaintiff: Mobile devices, laptop and desktop computers.

                2. Defendant: None.

         ii. How discovery of ESI can and will be limited:

                1. Plaintiff: Plaintiff anticipates the need for a Protective

                   Order of the ESI given the sensitive nature of the subject

                   matter.


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                   2. Defendant: Gaiman opposes this request as there has

                      been no showing that any of Plaintiff’s communications

                      are sensitive or confidential.

           iii. Methods of how discovery of ESI can and will be facilitated:

                   1. Plaintiff: Plaintiff anticipates working with counsel for

                      Defendant to agree upon the method of the exchange of

                      ESI.

                   2. Defendant: Counsel for the Defendant will work with

                      Plaintiff’s counsel to facilitate the ESI discovery.

           iv. Form in which ESI will be produced:

                   1. Plaintiff: In its native format unless otherwise stipulated.

                   2. Defendant: Gaiman will produce PDF files of any

                      relevant correspondence.

8. Any other matters affecting the just, speedy or inexpensive determination of

   this case, or that which the court should consider in setting the schedule:

      a. Plaintiff: Defendant Gaiman filed a Motion To Dismiss, which has been

         recently fully briefed. In order to keep litigation costs proportionate to

         the needs of the case, the Court should consider the impact of the parties

         litigation costs and the impact on scheduling during the pendency while

         the Court considers their ruling.


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         b. Defendant: The Court should decide the Motion To Dismiss prior to

            the commencement of any discovery in this action because this Court

            is not the appropriate forum in which to adjudicate the dispute.

Respectfully submitted this _21st___ day of May 2025.


/s/ Matthew R. Jelenchick                   /s/ Andrew Brad Brettler
Matthew R. Jelenchick (#1037765)            Andrew Brad Brettler (Pro Hac Vice)
NIEBLER, PYZYK, CARRIG,                     Jake A. Camara (Pro Hac Vice)
JELENCHICK & HANLEY, LLP                    BERK BRETTLER, LLP
PO Box 444                                  9119 W. Sunset Blvd.
Menomonee Falls, WI 53052                   West Hollywood, CA 90069
Phone: 262-254-5330                         Phone: 310-278-2111
mjelenchick@nieblerpyzyk.com                abrettler@berkbrettler.com
Counsel for Plaintiff                       jcamara@berkbrettler.com
                                            Counsel for Defendant Neil Gaiman

/s/ Michael Nimmo                           Stephen E. Kravit (#1016306)
Michael Nimmo (Pro Hac Vice)                Brian T. Fahl (#1043244)
WAHLBERG, WOODRUFF,                         Wesley E. Haslam (#1121993)
NIMMO & SLOANE, LLP                         Andrea N. Panozzo (#1122016)
4601 DTC Blvd., Suite 950                   KRAVIT, HOVEL & KRAWCZYK
Denver, CO 80237                            825 N. Jefferson St., Suite 500
Phone: 303-571-5302                         Milwaukee, WI 53202
Michael@denvertriallawyers.com              Phone: 414-271-7100
Counsel for Plaintiff                       kravit@kravitlaw.com
                                            btf@kravitlaw.com
                                            weh@kravitlaw.com
                                            anp@kravitlaw.com
                                            Counsel for Defendant Neil Gaiman




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Lane A. Haygood (Pro Hac Vice)
Dylan Schmeyer (Pro Hac Vice)
Thomas Neville (Pro Hac Vice)
Akiva M. Cohen (Pro Hac Vice)
KAMERMAN UNCYK
SONIKER & KLEIN, P.C.
1700 Broadway
New York, NY 10019
Phone: 212-400-4930
lhaygood@kusklaw.com
dschmeyer@kusklaw.com
tneville@kusklaw.com
acohen@kusklaw.com
Counsel for Plaintiff




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